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                                        #:6369


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19                   UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
20
21    SONOS, INC.,                                   Case No. 2:20-cv-00169-JAK (DFMx)
22                    Plaintiff,                     JOINT REPORT
            v.                                       RESPONDING TO DKT. 72
23
24    GOOGLE LLC,

25                    Defendant.

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                                                                        Case No. 2:20-cv-00169-JAK (DFMx)
                                   JOINT REPORT RESPONDING TO DKT. 72
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                                     #:6370


  1         Plaintiff Sonos, Inc. and Defendant Google LLC submit this joint report in
  2   response to the Court’s January 22 Order. Dkt. 72 (“Order”). In that Order, the
  3   Court ordered the parties to:
  4                [M]eet and confer with respect to a proposed, revised
  5                pretrial schedule. Thereafter, on or before February 10,
                   2025, the parties shall file a joint report with their
  6                respective and/or collective positions as to these dates, and
                   a completed Exhibit A - Schedule of Pretrial and Trial
  7                Dates, which can be found in the Standing Order on the
                   Court's procedures and schedules page located at:
  8                http://www.cacd.uscourts.gov/honorable-john-kronstadt.
  9                Based on a review of the joint report, a scheduling order
                   will be issued.
10
11    Id.
12          Appended hereto is a completed Exhibit A – Schedule of Pretrial and Trial
13    Dates For Patent Cases.
14
15    Dated: February 10, 2025          ORRICK, HERRINGTON & SUTCLIFFE LLP
16                                      and
                                        LEE SULLIVAN SHEA & SMITH LLP
17
18                                      By:         /s/ Alyssa Caridis
                                                       ALYSSA CARIDIS
19                                            Attorneys for Plaintiff, SONOS, INC.
20
21    Dated: February 10, 2025          QUINN EMANUEL URQUHART & SULLIVAN, LLP
22
23                                      By:          /s/ Lance Yang
                                                           LANCE YANG
24                                            Attorneys for Defendant, GOOGLE LLC
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                                               -2-                Case No. 2:20-cv-00169-JAK (DFMx)
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                                     #:6371


  1                               FILER’S ATTESTATION
  2         I, Alyssa Caridis, pursuant to Civil Local Rule 5-4.3.4(2)(i), attest that all
  3   other signatories listed, and on whose behalf the filing is submitted, concur in the
  4   filing’s content and have authorized the filing.
  5
  6   Dated: February 10, 2025                 /s/ Alyssa Caridis
                                              ALYSSA CARIDIS
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                                JOINT REPORT RESPONDING TO DKT. 72
